THE MOTION FOR TRANSFER IN THE FOLLOWING MULTIDISTRICTLITIGATION CASE IS DENIED WITHOUT PREJUDICE AS FOLLOWS:
Having considered the materials filed by the parties in the captioned matter, the *Page 378 
panel is not persuaded that the two trial judges handling these cases in Tarrant and Burleson Counties have made significant inconsistent rulings or failed to protect witnesses or parties from inconvenience or duplicative discovery or that such rulings are likely in the future. The motion for transfer is therefore denied without prejudice to file a second motion if the judges issue inconsistent rulings on significant issues or if they do not protect witnesses and parties from duplicative discovery demands or other inconvenience.